                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   5:98-cr-164

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )
                                    )                         ORDER
MARQUIS CORNELIUS TAYLOR            )
                                    )
                  Defendant.        )
___________________________________ )

        THIS MATTER is before the Court on Defendant Marquis Cornelius Taylor’s Motion

to Terminate Supervised Release and Supporting Memorandum (Doc. 390) filed February 7,

2011. On December 29, 2008, Defendant began a five-year term of supervised release after

having served a ten year sentence. The Probation Office recommends that this Court deny

termination of supervised release. Pursuant to the discretion given to this Court by 18 U.S.C. §

3853(e), this Court determines that early termination of supervised release is not in the interest

of justice.

        IT IS THEREFORE ORDERED that Defendant’s motion (Doc. 390) is hereby

DENIED.

                                                 Signed: March 21, 2011




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